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                          Attorneys for Intervenor Defendant Arizona Lithium Limited
                      9
                                               IN THE UNITED STATES DISTRICT COURT
                     10
                                                    FOR THE DISTRICT OF ARIZONA
                     11
                           Hualapai Indian Tribe of the Hualapai         NO. 3:24-cv-08154-DJH
THORPE SHWER, P.C.




                     12    Indian Reservation, Arizona,
                     13
                                                 Plaintiff,              INTERVENOR DEFENDANT
                     14                                                  ARIZONA LITHIUM LIMITED’S
                           v.                                            CORPORATE DISCLOSURE
                     15                                                  STATEMENT
                     16    Debra Haaland in her official capacity as
                           the United States Secretary of the
                     17    Interior; United States Bureau of Land
                           Management; Ray Suazo in his official
                     18
                           capacity as State Director of the United
                     19    States Bureau of Land Management; and
                           Amanda Dodson in her official capacity
                     20    as Field Office Manager of the United
                     21    States Bureau of Land Management
                           Kingman Field Office,
                     22
                                                 Defendants.
                     23
                     24    Arizona Lithium Limited,
                     25                    Intervenor Defendant
                     26
                     27             This Corporate Disclosure Statement is filed on behalf of Intervenor Defendant
                     28   Arizona Lithium Limited. in compliance with the provisions of: (check one)
                          9516174
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                      1              X     Rule 7.1(a)(1), Federal Rules of Civil Procedure, a nongovernmental
                      2   corporate party or a nongovernmental corporation that seeks to intervene in an action in a
                      3   district court must file a statement that identifies any parent corporation and any publicly
                      4   held corporation that owns 10% or more of its stock or states that there is no such
                      5   corporation.
                      6             ____ Rule 7.1(a)(2), Federal Rules of Civil Procedure, in an action in which
                      7   jurisdiction is based on diversity under 28 U.S.C. § 1332(a), a party or intervenor must,
                      8   unless the court orders otherwise, file a disclosure statement. The statement must name
                      9   and identify the citizenship of every individual or entity whose citizenship is attributed to
                     10   that party or intervenor when the action is filed in or removed to federal court, and when
                     11   any later event occurs that could affect the court’s jurisdiction under § 1332(a).
THORPE SHWER, P.C.




                     12             ____ Rule 12.4(a)(1), Federal Rule of Criminal Procedure, any nongovernmental
                     13   corporate party to a proceeding in a district court must file a statement that identifies any
                     14   parent corporation and any publicly held corporation that owns 10% or more of its stock
                     15   or states that there is no such corporation.
                     16             ____ Rule 12.4(a)(2), Federal Rule of Criminal Procedure, if an organizational
                     17   victim of alleged criminal activity is a corporation the government must file a statement
                     18   identifying the victim and the statement must also disclose the information required by
                     19   Rule 12.4(a)(1).
                     20             The filing party hereby declares as follows:
                     21              X     No such corporation.
                     22             ____ Party is a parent, subsidiary or other affiliate of a publicly owned
                     23   corporation as listed below. (Attach additional pages if needed.)
                     24             ________________________           Relationship____________________________
                     25             ____ Publicly held corporation, not a party to the case, with a financial interest in
                     26   the outcome. List identity of corporation and the nature of financial interest. (Attach
                     27   additional pages if needed.)
                     28             ________________________           Relationship____________________________

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                      1             _____ Other (please explain)
                      2             __________________________________________________________________
                      3             __________________________________________________________________
                      4             ____ Diversity case. (Attach additional pages if needed.)
                      5                   Party name and Party Role:           State:
                      6                   _____________________                __________________________
                      7                   _____________________                __________________________
                      8             A supplemental disclosure statement will be filed upon any change in the
                      9   Information provided herein.
                     10             DATED this 29th day of October, 2024.
                     11                                                THORPE SHWER, P.C.
THORPE SHWER, P.C.




                     12
                                                                       By /s/ William L. Thorpe
                     13                                                  William L. Thorpe
                                                                         Mitchell W. Fleischmann
                     14
                                                                         Bree G. Nevarez
                     15                                                  Attorneys for Intervenor Defendant Arizona
                                                                         Lithium Limited
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                      1                                 CERTIFICATE OF SERVICE
                      2             I hereby certify that on this 29th day of October, 2024, the foregoing document

                      3   was electronically transmitted to the Clerk’s Office using the CM/ECF System for filing

                      4   and transmittal of a Notice of Electronic Filing, to the following CM/ECF registrants:

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                      6                                          Heidi McIntosh
                                                               Thomas Delehanty
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                                                               Roger Flynn
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                     21                                  Daniel.luecke@usdoj.gov
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                                                    Attorneys for Defendants Debra Haaland;
                     23                            United States Bureau of Land Management;
                                                        Ray Suazo; and Amanda Dodson
                     24
                     25
                                                                     /s/      Brandi Kline
                     26
                                                                           Legal Assistant
                     27
                     28

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